[Cite as U.S. Bank Natl. Assn. v. Bubna, 2024-Ohio-3195.]

                              COURT OF APPEALS OF OHIO

                             EIGHTH APPELLATE DISTRICT
                                COUNTY OF CUYAHOGA

U.S. BANK NATIONAL ASSOCIATION, :

                Plaintiff-Appellee,                   :
                                                            No. 113569
                v.                                    :

WALTER P. BUBNA, ET AL.,                              :

                Defendants-Appellants.                :


                               JOURNAL ENTRY AND OPINION

                JUDGMENT: DISMISSED
                RELEASED AND JOURNALIZED: August 22, 2024


            Civil Appeal from the Cuyahoga County Court of Common Pleas
                                Case No. CV-21-952468


                                           Appearances:

                Robbins Kelly Patterson &amp; Tucker, Zachary            D.
                Prendergast, and Charles E. Rust, for appellee.

                 Walter P. Bubna, pro se.


KATHLEEN ANN KEOUGH, A.J.:

                  Defendant-appellant, Walter P. Bubna, appeals the trial court’s

judgment overruling his “objection” to the magistrate’s decision that granted

summary judgment to plaintiff-appellee, U.S. Bank National Association, as

Indenture Trustee for VCC 2020-MC1 Trust (“U.S. Bank”), and ordered foreclosure
on the real property. For the reasons that follow, we dismiss the appeal for lack of a

final appealable order.

I.   Procedural History and Background

               On August 31, 2021, U.S. Bank filed a foreclosure complaint,

requesting a judicial sale against Bubna. As required by R.C. 2329.191 and Cuyahoga

C.P., Gen.Div., Loc.R. 24.0(A), U.S Bank submitted a preliminary judicial report

with its complaint; however, the effective date of the report was July 16, 2021, which

was outside the 30-day statutory timeframe.

               Bubna moved to dismiss the complaint, contending that U.S. Bank

failed to comply with R.C. 2329.191 that requires a party seeking foreclosure and

requesting a judicial sale to file a preliminary judicial report with an effective date of

30 days of the complaint. He also contended that the preliminary judicial report

was deficient because it did not contain the correct street address, which is also

required by R.C. 2329.191.

               U.S. Bank conceded that the preliminary judicial report was outside

of the statutory timeframe but contended that R.C. 2329.191 permitted substantial

compliance. Moreover, it maintained that R.C. 2329.191 is not jurisdictional, but

permissive, and thus dismissal was not warranted. Nevertheless, U.S. Bank offered

to file a statutory-compliant preliminary judicial report, if ordered by the trial court.

The trial court summarily denied Bubna’s motion to dismiss, but it did not order

U.S. Bank to file an updated preliminary judicial report.
               While his motion to dismiss was pending, Bubna requested discovery

from U.S. Bank that seemingly went unanswered because on the same day that

Bubna filed for summary judgment, Bubna filed a motion to compel discovery,

asserting that he had only received one piece of paper from U.S. Bank. In response,

U.S. Bank stated that it possessed over 400 pages of documents to provide to Bubna,

but it was first asking him to sign an Agreed Protective Order to obtain those

documents.

               Both parties moved for summary judgment. Bubna again raised the

deficiencies in the preliminary judicial report submitted with U.S. Bank’s complaint

asserting that because U.S. Bank did not comply with R.C. 2329.191(B), judgment

should be granted in his favor. In its opposition, U.S. Bank again asserted that strict

compliance with R.C. 2329.191 was not required.

               In its motion for summary judgment, U.S. Bank contended that it was

entitled to an order of foreclosure because (1) it was the holder of the note and

mortgage, or at least a party entitled to enforce the instruments by virtue of the chain

of assignments and transfers, (2) Bubna defaulted on his mortgage, and (3) that all

conditions precedent were met.       On the same day that U.S. Bank moved for

summary judgment, it also filed a “final judicial report” with an effective date of

December 12, 2022, but still contained the wrong street address of the property.

               Bubna opposed U.S. Bank’s motion, contending that (1) U.S. Bank

could not establish that it complied with the mandatory statutory requirements of

R.C. 2329.191 because its preliminary judicial report did not have an effective date
within thirty days of the foreclosure complaint filing date, and further has an

incorrect property address for the property, which also violated the mandatory

statutory requirements of R.C. 2329.191(B); (2) U.S. Bank’s failure to comply with

R.C. 2329.191 further deprived the trial court of jurisdiction; (3) U.S. Bank deprived

him of due process and equal protection; (4) U.S. Bank lacked standing because it

was not the holder of the note because no allonge was affixed to the note and the

assignment was defective because it was not lawfully notarized; (5) the affidavit in

support of U.S. Bank’s motion was invalid and void because it was unlawfully

notarized.

               On July 6, 2023, U.S. Bank filed a “supplemental final judicial report”

with an effective date of April 26, 2023; the property address for the property was

corrected.

               On August 15, 2023, the magistrate summarily denied Bubna’s

motion for summary judgment but granted judgment in favor of U.S. Bank and

ordered a decree of foreclosure.

               Bubna timely raised seven objections, contending that the magistrate

erred in granting summary judgment because (1) U.S. Bank failed to comply with

R.C. 2329.191 in submitting its preliminary judicial report; (2) U.S. Bank’s failure to

comply with R.C. 2329.191 further deprived the trial court of jurisdiction; (3) U.S.

Bank deprived him of due process and equal protection; (4) U.S. Bank lacked

standing because it was not the holder of the note because no allonge was affixed to

the note and the assignment was defective because it was not lawfully notarized; (5)
Sandi Lawrence’s affidavit in support of U.S. Bank’s motion was invalid and void

because it was unlawfully notarized and thus inadmissible hearsay; (6) discovery

was never completed and the magistrate’s finding that he received discovery was

factually incorrect; and (7) genuine issues of material fact remained to be litigated.

               On December 19, 2023, the trial court issued a “judgment entry

adopting the magistrate’s decision over objection” that summarily denied Bubna’s

“objection.” The trial court’s decision did not identify any of Bubna’s objections nor

did it independently address the objections.

II. The Appeal

               Bubna now appeals, raising seven assignments of error, contending

that the trial court erred in granting summary judgment in favor of U.S. Bank,

denying his motion to dismiss, and challenging certain pretrial discovery issues. The

assignments of error are as follows:

      1. The Trial Court committed prejudicial error by granting summary
      judgment to Plaintiff-Appellee U.S. Bank, etc. and denying summary
      judgment to Defendant-Appellant Walter Bubna, denying Appellant’s
      Motion To Dismiss and Reconsideration, and overruling Defendant’s
      Objections and entering a decree of foreclosure when the preliminary
      judicial report (PJR ) in the foreclosure complaint did not comply with
      the mandatory timeframe statutory effective date requirements for a
      foreclosure complaint requesting a judicial sale in R.C. 2329.191. As a
      result, the judgment of the trial court must be reversed and judgment
      granted to Defendant-Appellant. Per the Ohio Supreme Court in State
      ex rel. Nyamusevya v. Hawkins, 2021-Ohio- 1122, ¶ 18, GMAC Mtge.
      LLC v. Jacobs, 2011-Ohio -1780; Lula Karras v. Terry Karras,
      Montgomery County Court of Common Pleas Case No. 2016 CV 06440.

      2. The Trial Court and the magistrate erred by not finding that
      Plaintiff-Appellee U.S. Bank’s failure to comply with the mandatory
      timeframe statutory requirements of R.C. 2329.191 bars its request for
      a foreclosure judicial sale under R.C.2329.31, from day one of this case
and also deprives the Trial Court of jurisdiction to decide the case and
further the Trial Court and magistrate erred in granting Plaintiffs
Motion For Summary Judgment and denying defendant’s Motion For
Summary Judgment, and issuing a Decree of Foreclosure.

3. The Trial Court and Magistrate erred by not finding that Defendant-
Appellant is entitled to due process and the equal protection of law
under the U.S. and Ohio Constitutions and consistent application of
law as in the cases of State ex rel. Nyamusevya v. Hawkins, supra;
GMAC Mtge., LLC v. Jacobs, supra and Lula Karras v. Terry Karras
case, supra.

4. The Trial Court and Magistrate erred by not finding that Plaintiff-
Appellee U.S. Bank lacked standing when it filed this case as it was not
the holder of the note; plus Plaintiffs alleged ownership of the mortgage
was also defective as the assignment from Velocity Commercial Capital
LLC was defective as to the assignment and notarization thereunder;
further the assignments of mortgage were defective and void as the
unauthorized practice of law; in addition, no allonge was attached to
the note at the time of filing, thus Plaintiff-Appellee was not able to
enforce the note under R.C. 1303.24; R.C. 1303, et seq., also see SMS
Financial v. Waxman Chabad, 2021-Ohio-4174 (8th Dist.).

5. The Trial Court and Magistrate erred by granting Plaintiffs Motion
for Summary Judgment when it was based on the invalid affidavit of
Sandie Lawrence which contained inadmissible hearsay under Civil
Rule 56 E and there were issues of material fact. In addition, no
payment history was attached and thus summary judgment should not
have been granted to Appellee. See Fannie Mae v. Ford, 2016-Ohio-
919, ¶ 20 (8th Dist.)

6. The Trial Court and Magistrate erred in granting Plaintiff Summary
Judgment and a Foreclosure Decree while denying discovery and
denying Defendant’s Motion to Compel discovery on a factually
mistaken judgment error that Defendant-Appellant received 400 pages
of documents when in fact Appellant only received only 1 page and
Appellant waited since January 4. 2022 to receive said documents, plus
the trial court and the trial court erred by stating that Plaintiff does not
have to answer defendant’s interrogatories, submitted also on January
4, 2022, nor provide any initial discovery to Appellant under Civil Rule
26.

7. The Trial Court and the Magistrate erred and committed plain error
by granting summary judgment to Plaintiff, denying defendant’s
      Motion for Summary Judgment and entering a decree of foreclosure to
      Plaintiff and denying Defendant due process and equal protection and
      statutory and procedural rights to discovery, and not follow the Ohio
      statutes and case law.

III. Final Appealable Order

              Before addressing the merits of the appeal, this court must decide

whether the judgment entry is a final appealable order.

              This court has jurisdiction to review final orders or judgments of

lower courts within our district. Section 3(B)(2), Article IV, Ohio Constitution; R.C.

2501.02. If the order is not a final, appealable order, we lack jurisdiction and must

dismiss the appeal. Madfan, Inc. v. Makris, 2015-Ohio-1316, ¶ 11 (8th Dist.). This

court, therefore, has the duty to sua sponte examine any deficiencies in jurisdiction.

Treasurer Cuyahoga Cty. v. Holloway, 2017-Ohio-8065, ¶ 4 (8th Dist.).

              Civ.R. 53(D)(4)(d), provides in relevant part, “[i]f one or more

objections to a magistrate’s decision are timely filed, the court shall rule on those

objections. In ruling on objections, the court shall undertake an independent review

as to the objected matters to ascertain that the magistrate has properly determined

the factual issues and appropriately applied the law.”           (Emphasis added.)

“Whenever objections are filed, therefore, a trial court must consider whether the

magistrate properly determined the factual issues and whether the magistrate

appropriately applied the law.” Tillman v. Hyde Park Condominium #3 Owners

Assn., 2013-Ohio-2432, ¶ 6 (9th Dist.), citing Civ.R. 53(D)(4)(d).

              In this case, we cannot affirmatively conclude that the trial court

considered Bubna’s objections because its decision does not expressly rule on any of
the objections and does not mention any of the issues Bubna raised. See Del Zoppo

v. Del Zoppo, 2018-Ohio-4216 (8th Dist.) (appeal dismissed for lack of a final,

appealable order because the trial court did not address all of the raised objections

to the magistrate’s decision). Id. at ¶ 10. While this court does not require a trial

court to provide comprehensive findings of fact and conclusions of law, a trial court’s

decision must be more than merely rubber-stamping the magistrate’s decision. In

re B.W., 2011-Ohio-4513, ¶ 9 (8th Dist.).

               Our review reflects that the trial court “adopted” the magistrate's

decision by attaching it to its judgment entry, but then essentially restated the

language of that decision as its judgment entry without even mentioning any of the

objections raised by Bubna — the trial court merely stated, “Defendant Walter

Bubna’s objection to the Magistrate’s Decision is overruled.” Although some of

Bubna’s objections were raised in his summary judgment and brief in opposition to

U.S. Bank’s summary judgment motion, the magistrate also did not consider each

argument Bubna raised, specifically whether R.C. 2329.191 or Loc.R. 20.4(A)

permits substantial compliance in filing a preliminary and final judicial report.

Accordingly, the trial court’s restatement of the magistrate’s decision left issues

unresolved.

               Based on the objections raised and the trial court’s summary denial

of Bubna’s objections without sufficient indication that the trial court undertook “an

independent review as to the objected matters to ascertain that the magistrate has

properly determined the factual issues and appropriately applied the law,” as
required by Civ.R. 53(D)(4)(d), this court finds that the trial court did not fully

determine the action and we lack jurisdiction to consider this appeal.

              Dismissed.

      It is ordered that appellee recover from appellant costs herein taxed.

      A certified copy of this entry shall constitute the mandate pursuant to Rule 27

of the Rules of Appellate Procedure.



KATHLEEN ANN KEOUGH, ADMINISTRATIVE JUDGE

EMANUELLA D. GROVES, J., and
FRANK DANIEL CELEBREZZE, III, J., CONCUR
